Case 3:23-cv-01246-RNC   Document 123-14   Filed 06/18/25   Page 1 of 7




                   Exhibit L
Case 3:23-cv-01246-RNC   Document 123-14   Filed 06/18/25   Page 2 of 7




                                 1
Case 3:23-cv-01246-RNC   Document 123-14   Filed 06/18/25   Page 3 of 7




                                 2
Case 3:23-cv-01246-RNC   Document 123-14   Filed 06/18/25   Page 4 of 7




                                 3
Case 3:23-cv-01246-RNC   Document 123-14   Filed 06/18/25   Page 5 of 7




                                 4
Case 3:23-cv-01246-RNC   Document 123-14   Filed 06/18/25   Page 6 of 7




                                 5
Case 3:23-cv-01246-RNC   Document 123-14   Filed 06/18/25   Page 7 of 7




                                 6
